           IN THE DISTRICT COURT OF THE UNITED STATES
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION

                           CRIMINAL NO. 1:06CR250




UNITED STATES OF AMERICA                      )
                                              )
                                              )
                   VS.                        )             ORDER
                                              )
                                              )
MICHELLE GOSSETT                              )
                                      )


      THIS MATTER is before the Court on motion of defense counsel for

permission to file for an interim payment of counsel fees and upon referral

from the District Court.

      For the reasons set forth in the motion and for cause shown,

      IT IS, THEREFORE, ORDERED that counsel’s motion is ALLOWED,

and Janna D. Allison is hereby permitted to file an interim fee petition in this

matter.
                                          Signed: July 23, 2007




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